                 An official website of the United States government. Here's how you know. !
                                                                                         Case 4:19-cv-00655-BSM Document 201-25 Filed 05/19/22 Page 1 of 1



                                                                                                      Public Access To Court Electronic Records




                                                                                                     Billing History
                               BILLING HISTORY
                                                                                                     Detailed Transaction Report by Date
                                                                                                                     All
                                                                                                       from 10/11/2020 to 01/11/2021

                                                                                                                                   Plaintiff's Exhibit 20




                                                                                                              Billing Transactions
                                  Date                        Time              Pages                 Court                    Client Code        Description   Search           Cost
                                  10/11/2020
                                  10/11/2020                  16:17:29                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE    CASE NUMBER
                                                                                                                                                  SEARCH        866; CASE
                                                                                                                                                                YEAR 1982;
                                                                                                                                                                CASE NUMBER
                                                                                                                                                                4:82-CV-00866;
                                                                                                                                                                OFFICE 4; CASE
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                                  10/11/2020                  16:21:59                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                                                                                                                                                4:82-CV-00866;
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                                  10/11/2020                  16:24:49                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
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                                  10/11/2020                  20:09:53                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50

                                                                                                     Billing History
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                                  10/11/2020                  20:22:16                           8    AREDC                                       DOCKET        4:19-CV-00655-   $0.80
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                                  10/11/2020                  20:26:46                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
                                                                                                                                                  REPORT        BSM
                                  Subtotal:                                                     50    pages                                       $5.00
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                  10/12/2020
                                  10/12/2020                  14:20:11                           4    AREDC                                       IMAGE3327-0   4:82-CV-00866-   $0.40
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3327-0
                                  10/12/2020                  14:36:12                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE    CASE NUMBER
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                                  10/12/2020                  14:37:18                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT        DPM
                                  10/12/2020                  14:39:32                           6    AREDC                                       IMAGE3328-0   4:82-CV-00866-   $0.60
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3328-0
                                  10/12/2020                  14:41:26                           2    AREDC                                       IMAGE3333-0   4:82-CV-00866-   $0.20
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3333-0
                                  10/12/2020                  14:44:36                           4    AREDC                                       IMAGE3334-0   4:82-CV-00866-   $0.40
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3334-0
                                  10/12/2020                  14:46:22                           3    AREDC                                       IMAGE3335-0   4:82-CV-00866-   $0.30
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3335-0
                                  10/12/2020                  14:48:53                           3    AREDC                                       IMAGE3336-0   4:82-CV-00866-   $0.30
                                                                                                                                                                DPM
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                                                                                                                                                                3336-0
                                  10/12/2020                  14:53:09                           5    AREDC                                       IMAGE3340-0   4:82-CV-00866-   $0.50
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                3340-0
                                  10/12/2020                  14:54:55                           5    AREDC                                       IMAGE3341-0   4:82-CV-00866-   $0.50
                                                                                                                                                                DPM
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                                                                                                                                                                3341-0
                                  10/12/2020                  14:57:41                           3    AREDC                                       IMAGE3348-0   4:82-CV-00866-   $0.30
                                                                                                                                                                DPM
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                                                                                                                                                                3348-0
                                  10/12/2020                  14:59:43                           3    AREDC                                       IMAGE3349-0   4:82-CV-00866-   $0.30
                                                                                                                                                                DPM
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                                                                                                                                                                3349-0
                                  10/12/2020                  15:02:28                           5    AREDC                                       IMAGE3350-0   4:82-CV-00866-   $0.50
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                                                                                                                                                                3350-0
                                  10/12/2020                  15:06:31                           8    AREDC                                       IMAGE3360-0   4:82-CV-00866-   $0.80
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                                  10/12/2020                  18:28:28                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                  10/12/2020                  18:29:29                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT        DPM
                                  Subtotal:                                                    113    pages                                       $11.30
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                  10/14/2020
                                  10/14/2020                  13:41:07                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                  10/14/2020                  13:42:32                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT        DPM
                                  10/14/2020                  14:11:47                           3    AREDC                                       IMAGE5253-0   4:82-CV-00866-   $0.30
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                5253-0
                                  10/14/2020                  14:13:02                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                  10/14/2020                  14:13:23                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
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                                  10/14/2020                  14:26:59                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
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                                  10/14/2020                  15:07:58                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                  10/14/2020                  15:08:35                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
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                                  10/14/2020                  23:08:22                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
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                                  Subtotal:                                                    131    pages                                       $13.10
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                  10/16/2020
                                  10/16/2020                  21:28:38                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
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                                  10/16/2020                  21:51:37                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
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                                  10/16/2020                  21:52:10                          30    AREDC                                       IMAGE28-0     4:19-CV-00655-   $3.00
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 28-
                                                                                                                                                                0
                                 Subtotal:                                                      40    pages                                       $4.00
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/17/2020                   00:02:26                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
                                                                                                                                                  REPORT        BSM
                                 10/17/2020                   00:03:57                          30    AREDC                                       IMAGE43-0     4:19-CV-00655-   $3.00
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 43-
                                                                                                                                                                0
                                 Subtotal:                                                      35    pages                                       $3.50
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/18/2020                   21:41:23                           5    AREDC                                       DOCKET        4:19-CV-00655-   $0.50
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                                 Subtotal:                                                       5    pages                                       $0.50
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/19/2020                   15:05:56                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                 10/19/2020                   15:06:41                          15    AREDC                                       DOCKET        4:82-CV-00866-   $1.50
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                                 Subtotal:                                                      16    pages                                       $1.60
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/20/2020                   00:35:05                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/20/2020                   00:35:24                           2    AREDC                                       IMAGE61-0     4:19-CV-00655-   $0.20
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 61-
                                                                                                                                                                0
                                 10/20/2020                   00:37:10                           8    AREDC                                       IMAGE62-0     4:19-CV-00655-   $0.80
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 62-
                                                                                                                                                                0
                                 10/20/2020                   21:00:19                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/20/2020                   21:40:31                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 Subtotal:                                                      28    pages                                       $2.80
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/21/2020                   01:08:54                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/21/2020                   01:10:19                         30     AREDC                                       IMAGE43-0     4:19-CV-00655-   $3.00
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                                                                                                                                                                DOCUMENT 43-
                                                                                                                                                                0
                                 10/21/2020                   01:10:48                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/21/2020                   23:47:34                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/21/2020                   23:48:00                           1    AREDC                                       IMAGE40-69    4:19-CV-00655-   $0.10
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 40-
                                                                                                                                                                69
                                 Subtotal:                                                      49    pages                                       $4.90
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/22/2020                   10:12:29                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/22/2020                   14:27:56                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/22/2020                   14:28:24                           8    AREDC                                       IMAGE74-0     4:19-CV-00655-   $0.80
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 74-
                                                                                                                                                                0
                                 10/22/2020                   14:29:14                           2    AREDC                                       IMAGE73-0     4:19-CV-00655-   $0.20
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 73-
                                                                                                                                                                0
                                 10/22/2020                   14:29:14                           2    AREDC                                       IMAGE73-1     4:19-CV-00655-   $0.20
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 73-
                                                                                                                                                                1
                                 10/22/2020                   14:35:09                           8    AREDC                                       IMAGE70-0     4:19-CV-00655-   $0.80
                                                                                                                                                                BSM
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                                                                                                                                                                0
                                 Subtotal:                                                      32    pages                                       $3.20
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/23/2020                   22:32:33                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
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                                 10/23/2020                   22:34:25                           8    AREDC                                       IMAGE70-0     4:19-CV-00655-   $0.80
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                                                                                                                                                                0
                                 10/23/2020                   22:38:37                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT        BSM
                                 10/23/2020                   22:38:51                           9    AREDC                                       IMAGE66-0     4:19-CV-00655-   $0.90
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 66-
                                                                                                                                                                0
                                 10/23/2020                   22:41:49                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE    CASE NUMBER
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                                 10/23/2020                   22:42:14                          15    AREDC                                       DOCKET        4:82-CV-00866-   $1.50
                                                                                                                                                  REPORT        DPM START
                                                                                                                                                                DATE:
                                                                                                                                                                10/24/2019
                                 10/23/2020                   22:44:16                           5    AREDC                                       IMAGE5658-0   4:82-CV-00866-   $0.50
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                5658-0
                                 10/23/2020                   22:44:17                          12    AREDC                                       IMAGE5658-1   4:82-CV-00866-   $1.20
                                                                                                                                                                DPM
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                                 Subtotal:                                                      62    pages                                       $6.20
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/26/2020                   23:30:34                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                 10/26/2020                   23:31:09                           6    AREDC                                       DOCKET        4:19-CV-00655-   $0.60
                                                                                                                                                  REPORT        BSM
                                 10/26/2020                   23:32:08                          27    AREDC                                       IMAGE67-0     4:19-CV-00655-   $2.70
                                                                                                                                                                BSM
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                                                                                                                                                                0
                                 Subtotal:                                                      34    pages                                       $3.40
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 10/27/2020
                                 10/27/2020                   01:04:14                           1    00PCL                                       CIVIL PARTY   ALL COURTS;      $0.10
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                                  10/27/2020                  01:04:43                           5    AREDC                                       DOCKET        4:18-CV-00356-   $0.50
                                                                                                                                                  REPORT        JM
                                  10/27/2020                  01:05:14                           5    AREDC                                       IMAGE9-10     4:18-CV-00356-   $0.50
                                                                                                                                                                JM DOCUMENT
                                                                                                                                                                9-10
                                  10/27/2020                  01:05:50                           9    AREDC                                       IMAGE9-9      4:18-CV-00356-   $0.90
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                                                                                                                                                                9-9
                                  10/27/2020                  01:11:32                           1    AREDC                                       IMAGE63-0     4:18-CV-00356-   $0.10
                                                                                                                                                                JM DOCUMENT
                                                                                                                                                                63-0
                                  10/27/2020                  01:12:36                           5    AREDC                                       IMAGE32-0     4:18-CV-00356-   $0.50
                                                                                                                                                                JM DOCUMENT
                                                                                                                                                                32-0
                                  10/27/2020                  01:14:31                           2    AREDC                                       IMAGE45-0     4:18-CV-00356-   $0.20
                                                                                                                                                                JM DOCUMENT
                                                                                                                                                                45-0
                                  10/27/2020                  01:16:37                           1    AREDC                                       IMAGE54-0     4:18-CV-00356-   $0.10
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                                  10/27/2020                  01:31:55                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
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                                  10/27/2020                  01:32:37                           9    AREDC                                       DOCKET        4:19-CV-00655-   $0.90
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                                  Subtotal:                                                     39    pages                                       $3.90
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                                  10/30/2020                  12:32:38                           7    AREDC                                       DOCKET        4:19-CV-00655-   $0.70
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                                  10/30/2020                  12:33:23                           1    AREDC                                       IMAGE82-0     4:19-CV-00655-   $0.10
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 82-
                                                                                                                                                                0
                                 10/30/2020                   12:34:00                           2    AREDC                                       IMAGE81-0     4:19-CV-00655-   $0.20
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 81-
                                                                                                                                                                0
                                 10/30/2020                   12:36:59                           9    AREDC                                       DOCKET        4:19-CV-00655-   $0.90
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                                 10/30/2020                   12:37:59                           1    AREDC                                       IMAGE40-76    4:19-CV-00655-   $0.10
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 40-
                                                                                                                                                                76
                                 10/30/2020                   12:40:13                           7    AREDC                                       DOCKET        4:19-CV-00655-   $0.70
                                                                                                                                                  REPORT        BSM
                                 10/30/2020                   12:41:16                           4    AREDC                                       IMAGE40-68    4:19-CV-00655-   $0.40
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 40-
                                                                                                                                                                68
                                 10/30/2020                   13:56:13                          30    AREDC                                       DOCKET        4:82-CV-00866-   $3.00
                                                                                                                                                  REPORT        DPM
                                 10/30/2020                   13:57:17                           2    AREDC                                       IMAGE5721-0   4:82-CV-00866-   $0.20
                                                                                                                                                                DPM
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                                                                                                                                                                5721-0
                                 10/30/2020                   13:57:18                           7    AREDC                                       IMAGE5721-1   4:82-CV-00866-   $0.70
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                5721-1
                                 10/30/2020                   13:57:18                           5    AREDC                                       IMAGE5721-2   4:82-CV-00866-   $0.50
                                                                                                                                                                DPM
                                                                                                                                                                DOCUMENT
                                                                                                                                                                5721-2
                                 Subtotal:                                                      75    pages                                       $7.50
                                                                                                 0    audio files ($2.40 ea)                      $0.00
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                                 11/02/2020                   00:49:58                           1    00PCL                                       CIVIL CASE    ALL COURTS;      $0.10
                                                                                                                                                  SEARCH        CASE TITLE
                                                                                                                                                                BEASLEY V.
                                                                                                                                                                MCNULTY;
                                                                                                                                                                JURISDICTION
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                                 11/02/2020                   00:51:28                           1    00PCL                                       CIVIL CASE    ALL COURTS;      $0.10
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                                                                                                                                                                508; CASE
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                                                                                                                                                                4:18-CV-508;
                                                                                                                                                                OFFICE 4; CASE
                                                                                                                                                                TITLE BEASLEY
                                                                                                                                                                V. MCNULTY;
                                                                                                                                                                CASE TYPE CV;
                                                                                                                                                                JURISDICTION
                                                                                                                                                                CV
                                 11/02/2020                   14:13:27                          10    AREDC                                       DOCKET        4:19-CV-00655-   $1.00
                                                                                                                                                  REPORT        BSM
                                 Subtotal:                                                      12    pages                                       $1.20
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $1.20
                                 11/06/2020
                                 11/06/2020                   00:13:06                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE    CASE NUMBER
                                                                                                                                                  SEARCH        655; CASE
                                                                                                                                                                YEAR 2019;
                                                                                                                                                                CASE NUMBER
                                                                                                                                                                4:19-CV-655;
                                                                                                                                                                OFFICE 4; CASE
                                                                                                                                                                TYPE CV; PAGE:
                                                                                                                                                                1
                                 11/06/2020                   00:13:22                           7    AREDC                                       DOCKET        4:19-CV-00655-   $0.70
                                                                                                                                                  REPORT        BSM
                                 11/06/2020                   00:13:47                           3    AREDC                                       IMAGE85-0     4:19-CV-00655-   $0.30
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 85-
                                                                                                                                                                0
                                 Subtotal:                                                      11    pages                                       $1.10
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $1.10
                                 11/08/2020
                                 11/08/2020                   20:00:13                           7    AREDC                                       DOCKET        4:19-CV-00655-   $0.70
                                                                                                                                                  REPORT        BSM
                                 11/08/2020                   20:00:31                           1    AREDC                                       IMAGE15-0     4:19-CV-00655-   $0.10
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 15-
                                                                                                                                                                0
                                 11/08/2020                   20:02:17                           1    AREDC                                       IMAGE68-0     4:19-CV-00655-   $0.10
                                                                                                                                                                BSM
                                                                                                                                                                DOCUMENT 68-
                                                                                                                                                                0
                                 Subtotal:                                                       9    pages                                       $0.90
                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.90
                                 12/04/2020
                                 12/04/2020                   19:27:59                           1    00PCL                                       ALL COURT     ALL COURTS;      $0.10
                                                                                                                                                  TYPES CASE    CASE NUMBER
                                                                                                                                                  SEARCH        655; CASE
                                                                                                                                                                YEAR 2019;
                                                                                                                                                                CASE NUMBER
                                                                                                                                                                4:19-CV-655;
                                                                                                                                                                OFFICE 4; CASE
                                                                                                                                                                TYPE CV; PAGE:
                                                                                                                                                                1
                                 12/04/2020                   19:28:19                           7    AREDC                                       DOCKET        4:19-CV-00655-   $0.70
                                                                                                                                                  REPORT        BSM
                                 Subtotal:                                                       8    pages                                       $0.80
                                                                                                0     audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $0.80
                                 Grand Total:                                                  749    pages                                       $74.90

                                                                                                 0    audio files ($2.40 ea)                      $0.00
                                                                                                                                                  $74.90




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